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                         Oral Argument Not Yet Scheduled


                                  No. 25-5124

             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

                            J.G.G., et al.,
                         Plaintiffs-Appellees,
                                   v.
        DONALD J. TRUMP, in his official capacity as President of the
                       United States, et al.,
                      Defendants-Appellants.

               ON APPEAL FROM THE UNITED STATES
          DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                         No. 1:25-cv-00766
                     The Hon. James E. Boasberg
 APPELLANTS’ RESPONSE TO MOTION TO DISMISS AND REPLY IN
            SUPPORT OF A STAY PENDING APPEAL
      OR, IN THE ALTERNATIVE, A WRIT OF MANDAMUS

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                                 INTRODUCTION

      The district court’s criminal contempt order invites needless constitutional

confrontation. In defiance of bedrock separation-of-powers principles, the district

court ordered the government to either engage in sensitive foreign relations

negotiations and to regain custody over foreign terrorists, or to criminally prosecute

itself. Worse, the district court did so to enforce a TRO that the Supreme Court

vacated for lack of jurisdiction, and that the government did not violate anyway.

      Instead of explaining any constitutional basis for this order, Plaintiffs largely

insist this Court lacks jurisdiction to do anything about it. That is wrong—this Court

has the power to act, whether through appeal or mandamus, and should exercise that

authority to halt the constitutional harms that the order inflicts. Plaintiffs’ argument

that the district court’s order is merely a preliminary investigation presenting a menu

of options severely downplays both the order’s terms and its consequences. The

order forces the government to immediately choose between two equally

unconstitutional options—thereby operating like an injunction that compels

surrendering the Executive’s foreign-affairs power or its prosecutorial power. That

choice does not deprive this Court of jurisdiction; it confers jurisdiction, subjecting

the government to a choice that is effectively final and so extraordinary that it

warrants mandamus.




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      For similar reasons, this Court should stay and ultimately vacate the district

court’s order as an unjustified encroachment on Article II power, especially because

the government did not even violate the TRO. As the district court acknowledged,

the dispute over TRO compliance reduces to whether its order forbade only physical

removal (from U.S. territory) or also legal removal (from U.S. custody). But

Plaintiffs never dispute the bedrock principle that ambiguity in the court’s written

order precludes enforcement by contempt. And established law bars reliance on oral

statements to reformulate a written injunction. Criminal contempt proceedings

cannot be predicated on an order so unclear that, weeks later, parties and the court

are parsing a hearing transcript to divine its true meaning—and where the Executive

Branch, which is constitutionally charged with the prosecutorial power, believes that

no crime was committed at all.

      For these reasons, this Court should deny Plaintiffs’ motion to dismiss, stay

the district court’s order pending appeal, or grant mandamus relief.

                                    ARGUMENT

 I.     This Court Has Jurisdiction to Enter Relief and Should Do So.

      Most of Plaintiffs’ brief is dedicated to questioning this Court’s authority to

grant any relief in this posture. But this Court has jurisdiction, and the order’s merits

cannot be rehabilitated.




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         A. The Contempt Order is Doubly Unconstitutional.

      The grounds for jurisdiction here are bound up with the constitutional defects

in the order below. The district court’s criminal contempt order requires the

government to either: (1) purge the purported contempt by exercising the President’s

core foreign-relations power to the district court’s specifications, complying with

the district court’s vacated TRO, and regaining custody of foreign terrorists; or (2)

face criminal prosecution by a court-appointed prosecutor if necessary. This choice

places the Executive Branch in an untenable dilemma: abdicate either its “foreign

relations” power or its “prosecutorial decisionmaking,” both of which are “the

special province of the Executive Branch.” Trump v. United States, 603 U.S. 593,

607, 620 (2024). Given the serious constitutional harms attendant to the district

court’s order, this Court has jurisdiction to stay this extraordinary and coercive

Hobson’s choice.

      Plaintiffs’ constant refrain is that appeal is premature because the district court

made only a preliminary finding that contemplates alternate paths going forward.

Resp.1-3, 13-24, 30. But there is nothing preliminary about what the district court

did or the imminent harms it imposes on the Executive. The district court found

probable cause for criminal contempt and “ORDERS” the government to comply

with one of two unconstitutional options in just 7 days. ECF 80. Facing that




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unconstitutional choice is a real “here-and-now injury” that cannot be ameliorated

later. See Axon Enters., Inc. v. FTC, 598 U.S. 175, 192 (2023).

      As to the “purge” option, Plaintiffs say the district court gave the government

a “menu of options.” Resp.16. But the court interprets its order to mean that purging

contempt requires the government to regain custody of the removed class members.

Op.30-31. So the only “purge” option is to engage in foreign relations with El

Salvador to effectuate regaining custody of members of Tren de Aragua, a

designated foreign terrorist organization. That usurps the President’s core foreign

affairs power. See Biden v. Texas, 597 U.S. 785, 805 (2022) (Supreme Court has

“taken care to avoid ‘the danger of unwarranted judicial interference in the conduct

of foreign policy’”); Harisiades v. Shaughnessy, 342 U.S. 580, 588–89 (1952)

(“policies on aliens” and “foreign relations” are “so exclusively entrusted to the

political branches of government as to be largely immune from judicial inquiry or

interference.”). Once that unconstitutional bell has been rung, it cannot be unrung.

Yet Plaintiffs fail to address these serious constitutional harms on the merits.

      As to the prosecution option, Plaintiffs say the threat of a special prosecutor

is merely an attenuated possibility. Resp.17-18. Not so. The district court first

compelled the government to serve up and identify the alleged violators—thereby

requiring the government to take concrete action and incur an immediate obligation,

i.e., to comply with an injunction. After that, the “next step” the district court



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mandated is to request the Executive to prosecute its own officials; if the

“Government declines,” then “the Court will appoint another attorney to prosecute

the contempt.” Op.44, 46 (emphasis added). There is nothing equivocal about the

district court’s promise that it “will appoint” a prosecutor if the Executive declines

to prosecute itself. Yet that directly contravenes the President’s “exclusive authority

and absolute discretion to decide whether to prosecute a case.” United States v.

Nixon, 418 U.S. 683, 693 (1974). Again, the Plaintiffs do not address, much less

contest, this significant constitutional harm. As a result, Plaintiffs all but concede

that if the district court is taken at its word, a serious constitutional violation would

occur.

         Plaintiffs’ ultimate response to this dilemma is to declare that the government

cannot be free to simply ignore court orders. Resp.18-19. This is a straw man. The

government is not arguing that it can never be sanctioned; that it could never be

subjected to civil contempt 1; or that it would never prosecute an official for criminal



1
 In a footnote, Plaintiffs suggests that “contempt proceedings” in this case “will be
properly be [sic] characterized as civil, not criminal.” Resp.15 n.3. That is wrong,
as the district court itself recognized. Civil contempt is designed to induce
compliance, so there is no such thing as civil contempt to enforce a vacated
TRO. Had the district court initiated civil contempt proceedings, the government
could have challenged the order for lack of jurisdiction. See United States v. Straub,
508 F.3d 1003, 1009 (11th Cir. 2007); Willy v. Coastal Corp., 503 U.S. 131, 139
(1992). That is undoubtedly why the district court instead made clear it was pursuing
criminal, not civil, contempt. Op.1.


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contempt—let alone claiming any power to defy judicial orders. But employing

criminal contempt against the government, even in the face of a refusal to prosecute

based on a determination that no violation occurred, would be an unprecedented

breach of the separation of powers. Conversely, preventing a district court judge

from improperly using criminal contempt against the government to dictate foreign

affairs or face prosecution does not somehow leave the judiciary powerless to

enforce its valid orders.

      Again, Plaintiffs do not rebut this. All of their cited cases are inapposite civil

contempt cases. See Resp.18-19; In re Kessler, 100 F.3d 1015, 1017 (D.C. Cir.

1996) (whether executive official could appeal a discovery issue without first facing

final civil contempt order); In re Contempt Finding in U.S. v. Stevens, 663 F.3d 1270,

1271 (D.C. Cir. 2011) (upholding civil contempt order). Indeed, their central case

emphasized that it involved “civil contempt” and that the court “refrain[ed] from

imposing penalties for criminal contempt.” Land v. Dollar, 190 F.2d 623, 636, 648

(D.C. Cir. 1951). Even then, the Supreme Court stayed the case, Sawyer v. Dollar,

1951 WL 44185, at *1 (U.S. May 22, 1951), and then vacated it as moot, Sawyer v.

Dollar, 344 U.S. 806, 806 (1952).

      The Executive must abide by judicial orders. But the Judiciary also owes

senior executive officials “respect” as representing “another branch of government

coequal to the judicial branch in constitutional function and design,” which is why



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pursuing any form of contempt must be a “last resort,” if it may be resorted to at all.

In re Att’y Gen. of U.S., 596 F.2d 58, 65, 68 (2d Cir. 1979) (vacating civil contempt

against Attorney General on mandamus). Such respect was not afforded here. At

bottom, the district court’s order is a circuitous attempt to enforce a vacated TRO—

which the district court concededly was without authority to enter—through

unconstitutional means. And, absent a stay, the government will have to comply at

an unbearable constitutional cost—the kind of constitutional conflict that courts

ordinarily endeavor to avoid.

          B. The Contempt Order Is an Appealable Injunction.

      Plaintiffs’ basic attack on appealability reflects their misguided theme: that

the district court has not imposed sanctions and that multiple avenues remain open

to the government. Resp.14-15, 20. By directing modes of compliance that are

different in form but equally unconstitutional, however, the district court’s contempt

order “has the ‘practical effect’ of granting … an injunction.” Abbott v. Perez, 585

U.S. 579, 594 (2018). For all of the reasons discussed, it threatens “serious, perhaps

irreparable, consequence” to the separation of powers, Carson v. Am. Brands, Inc.,

450 U.S. 79, 84 (1981), by mandating that the Executive exercise either its foreign-

affairs power or its prosecutorial authority in the way the district court desires. If

this is a “menu of options,” it is a wholly unappetizing one.




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      This Court’s decision in Adams v. Vance, 570 F.2d 950 (D.C. Cir. 1978)

underscores the existence of appellate jurisdiction here. There (as here) a district

court “commanded an unprecedented action irreversibly altering [a] delicate

diplomatic balance.” Id. at 953 (D.C. Cir. 1978). The district court’s order below is

equally appealable as an “action so potent with consequences so irretrievable.” Id.

      In addition, as the government observed, the district court’s cited authorities

underscore the injunctive nature of its order. See Op.43 (describing the “opportunity

to purge” contempt as a first attempt at “coercive remedies” (quoting Yates v. United

States, 355 U.S. 66, 75 (1957)); id. (calling it “an order directing either compliance

… or a showing of an excuse for the noncompliance” (emphasis added) (quoting 9A

Wright & Miller, Federal Practice & Procedure, § 2465)). The same is true of

Plaintiffs’ cited cases. Resp.14. In one, this Court explained that “[b]eing placed

under the threat of future sanction is a present sanction,” so an order threatening

even a “conditional sanction for failure to comply with a preexisting order” must be

appealable. Armstrong v. Exec. Off. of the President, 1 F.3d 1274, 1289 (D.C. Cir.

1993). So too here. Plaintiffs’ other case also held that “conditional sanction[s]”

were sufficient (not necessary) for appealability. Salazar ex rel. Salazar v. D.C., 602

F.3d 431, 436 (D.C. Cir. 2010). This case is even stronger, as the government was

only given 7 days to pick its unconstitutional poison.




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      Plaintiffs also misunderstand the relevance of adversarial briefing and

hearing. Though they are of course not alone sufficient to render a particular order

an appealable injunction, those factors undoubtedly weigh in favor of treating an

order with injunctive effect as appealable, as the Supreme Court just recognized.

See, e.g., Dep’t of Educ. v. California, 145 S.Ct. 966, 968 (2025). Where the “‘basis

for issuing the order is strongly challenged,” the resulting order is more likely to be

akin to an appealable order. Id. (cleaned up).

      In short, the district court’s contempt order required the Executive Branch to

pick from two unconstitutional options. That the district court framed its order as a

“choice” does not save it from review.

          C. The Contempt Order Is an Appealable Collateral Order.

      The contempt order is also an appealable collateral order. Plaintiffs contend

otherwise because an “actual contempt determination or sanction can still be

considered in the usual course of appellate review.” Resp. 21-22. But while that

observation may generally be true for ordinary contempt cases, it misunderstands

the unique constitutional harm that accrues each day the district court’s

extraordinary contempt crusade continues. The district court may not dangle the

sword of criminal prosecution over the Executive to coerce it to engage in foreign

relations in a manner that the court has deemed desirable. And even if the Executive

withstands the coercion, the Executive suffers irreparable harm from the usurpation



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of its prosecutorial power, whether or not it can prevail at trial or on appeal from any

contempt judgment.       Because the threatened proceedings themselves impose

constitutional harm, appellate review at the conclusion of contempt proceedings are

inadequate. See Will v. Hallock, 546 U.S. 345, 352 (2006) (“honoring the separation

of powers” is a “particular value of a high order … marshaled in support of the

interest in avoiding trial”); cf. Nunag-Tanedo v. E. Baton Rouge Par. Sch. Bd., 711

F.3d 1136, 1140 (9th Cir. 2013) (“immunity doctrines entitle the defendant to avoid

facing suit and bearing the burdens of litigation,” so they can be appealed before

finality); Axon Enters., 598 U.S. at 190-91 (where plaintiff suffers a here-and-now

injury from being subjected to unconstitutional proceedings, “it is impossible to

remedy once the proceeding is over, which is when appellate review kicks in”).

      The district court has already made a conclusive determination as to the

relevant question—whether the Executive may be subjected to a criminal contempt

prosecution, with only two unconstitutional options for how to proceed. Once the

government has been forced to proceed down one of those unconstitutional paths,

the harm cannot be undone by a later appeal. Plaintiffs worry that this would

“vitiate” finality because collateral orders are appealable on a categorical basis.

Resp.22. But the category here is exceedingly narrow: criminal contempt against

the Executive Branch. And it appears to be a class of one—neither Plaintiffs nor the

district court have been able to point to any examples. The separation of powers is



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in a category of its own, which is why the Supreme Court gives “special solicitude

[] to claims alleging a threatened breach of essential Presidential prerogatives” in

considering the scope of collateral order jurisdiction. Nixon, 457 U.S. at 743. That

same fundamental principle warrants recognizing jurisdiction here.

         D. The Contempt Order Also Warrants Mandamus.

      Plaintiffs hardly address the government’s request for mandamus. Resp.23.

Their argument is, again, the government should be forced to suffer severe

separation of powers harms before it can appeal. But, as explained above and in the

motion, it is clear and indisputable that the criminal contempt order is improper.

And the nature of this harm warrants mandamus.

      Once more, the government will suffer irreparable constitutional harms if the

district court’s contempt order is not stayed or vacated. That is a traditional ground

for mandamus. See Ex parte Peru, 318 U.S. 578, 587 (1943) (mandamus jurisdiction

appropriate to ensure that “the action of the political arm of the Government taken

within its appropriate sphere be promptly recognized, and that the delay and

inconvenience of a prolonged litigation be avoided by prompt termination of the

proceedings”). This is especially true in the field of foreign relations, where “the

judicial department of this government follows the action of the political branch, and

will not embarrass the latter by assuming an antagonistic jurisdiction.” Id. at 588.

Without immediate relief, the government will be forced to negotiate with a foreign



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power to take custody of foreign terrorists, under pain of criminal prosecution. Such

“occasion[s] for constitutional confrontation between the two branches should be

avoided whenever possible.” Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 382,

389-90 (2004) (“Accepted mandamus standards are broad enough to allow a court

of appeals to prevent a lower court from interfering with a coequal branch’s ability

to discharge its constitutional responsibilities.”).      Indeed, mandamus has been

granted where the Attorney General faced civil contempt because the “public

importance, with separation of power overtones, [ ] warrants more sensitive judicial

scrutiny than such a sanction imposed on an ordinary litigant.” In re Att’y Gen., 596

F.2d at 64. A fortiori here, where senior executive officials face criminal contempt.

   II.      Relief Is Especially Warranted Because There Was No Contempt.

         The constitutional confrontation invited by the district court is especially ill-

advised because it is so unnecessary: the government complied with all court orders.

The TRO enjoined the government “from removing members of [the] class.” March

15, 2025, 7:25 PM Minute Order. By its plain terms, that meant the government

could not remove class members from United States territory. And no class member

was removed from the United States after the order and while it remained in effect.

That should end the matter.

         Yet the district court contorted itself to interpret its now-vacated order to mean

removal not just from U.S. territory but also from U.S. “custody”—at once turning



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the order into an extraterritorial interference with the President’s Article II powers

and triggering an unprecedented criminal contempt proceeding. Op.23. That is not

a fair reading of the TRO, given the Alien Enemies Act context. Plaintiffs claim the

Act does not define removal (Resp.27n.4), but they ignore Sections 23 and 24, which

allow a court to order an alien to be “removed out of the territory of the United

States” and direct a marshal to cause “a removal of such alien out of the territory of

the United States.” 50 U.S.C. §§ 23, 24 (emphases added). So removal, under the

Act, clearly refers to leaving U.S. territory. The TRO is best read in pari materia.

And dictionaries point the same way. See ECF 58 at 3; Delaware v. Pennsylvania,

598 U.S. 115, 128 (2023) (relying on dictionaries at the time of passage, including

Black’s).

      At worst, the written TRO was ambiguous. Indeed, the district court itself

admitted both interpretations were possible. Op.25-26. That acknowledgement

should have foreclosed criminal contempt, since “long-standing” law states that

“ambiguities and omissions in orders redound to the benefit of the person charged

with contempt.” Ford v. Kammerer, 450 F.2d 279, 280 (3d Cir. 1971). “[W]here

there is ambiguity in the court’s direction, it precludes the essential finding in a

criminal contempt proceeding of willful and contumacious resistance.” United States

v. Joyce, 498 F.2d 592, 596 (7th Cir. 1974). This Court thus “resolve[s] ‘omissions

or ambiguities in the order’ in favor of the enjoined party.” United States ex rel.



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Yelverton v. Fed. Ins. Co., 831 F.3d 585, 587 (D.C. Cir. 2016) (quoting Charles Alan

Wright et al., 11A Federal Practice and Procedure § 2955 (3d ed. 2013)).

      Plaintiffs do not contest that any contempt is a “potent weapon” that “courts

should not resort [to] where there is a fair ground of doubt as to the wrongfulness of

the defendant’s conduct.” King v. Allied Vision, Ltd., 65 F.3d 1051, 1058 (2d Cir.

1995). Nor do Plaintiffs contest that it is “settled law that contempt will not lie for

violation of an order of the court unless the order is clear and decisive and contains

no doubt about what it requires to be done.” Joyce, 498 F.2d at 596. In fact, they do

not address this case law at all. Plaintiffs cannot justify this particular order by

combing through the hearing to cherry-pick quotes to manufacture clarity where

there is none and claiming any ambiguity in the written order amounts to

“nitpicking.” See Op.22-30; Rep.24-30.

      Rule 65(d) provides that a TRO or injunction “must … state the reasons why

it issued,” “state its terms specifically,” and “describe in reasonable detail—and not

by referring to the complaint or other document—the act or acts restrained or

required.” That rule would be meaningless if parties had to rely on second-hand

descriptions of what was said during a hearing (not even a hearing transcript was

available during the relevant time period) to divine the true meaning of a court’s

injunctions rather than the court’s written order. Bates v. Johnson, 901 F.2d 1424,




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1427 (7th Cir. 1990) (Easterbrook, J.); see also Landmark Legal Found. v. EPA, 272

F. Supp. 2d 70, 83 (D.D.C. 2003).

       Plaintiffs claim that this well-established line of authority is irrelevant because

(1) those cases involved only oral orders while the order here was written; (2) here

there was no conflict between the written order and the oral statements; and (3) the

written order somehow incorporated the hearing. Resp.29-30. All of this is wrong

as a matter of both law and fact. As to the first, “statements in court or in opinions

do not change the contents of injunctions,” including by supplementing a written

TRO.     Bethune Plaza, Inc. v. Lumpkin, 863 F.2d 525, 527 (7th Cir. 1988)

(Easterbrook, J.) (refusing to supplement written TRO with other sources); see also

Playmakers LLC v. ESPN, Inc., 376 F.3d 894, 896 (9th Cir. 2004) (where record

includes both oral and written rulings on the same matter, “[w]e review the written

opinion and not the oral statements”). As to the second, the “conflict” is that the

written TRO included no directive to return aliens from abroad; if the two orders

were truly identical, contempt would be apparent from the written order alone.

Finally, Rule 65(d) “forbid[s] giving effect to such an incorporation,” even if express

in the order. Bethune Plaza, 863 F.2d at 527. 2


2
  For what it’s worth, Plaintiffs themselves previously recognized in this Court the
fundamental separation between the oral instruction and written order, arguing that
the district court’s oral instruction to return planes was not incorporated into the
written minute order. See Oral Arg. at 1:19:39-42 (“I don’t think the order to return


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       Plaintiffs’ only rejoinder is that other circuits supposedly consider oral orders

to be binding. Resp.28-30. But no one claims that this Court has weighed in on this

circuit split. So if anything, this conflict (which the district court acknowledged

Op.40) proves the government could not have acted willfully—a complete defense

to a criminal contempt charge. Criminal liability does not attach for being on the

putative “wrong” side of a circuit split, especially when the relevant circuit has not

itself addressed the issue. Plaintiffs do not even address this point. This is because

it defeats any possible basis for criminal contempt against any party, let alone a

government official when the government itself agrees with the official. See Joyce,

498 F.2d at 596.

       All that said, even if this Court considers the hearing transcript, it obfuscates

more than it elucidates. Plaintiffs’ argument simply mirrors the district court’s

opinion. See Op.8, 26-30; Resp.25-26. So it fails for the same reasons explained in

the opening motion. See Mot.15-20. If anything, some of the district court’s

statements support the government’s interpretation that removal is territorial. See

Tr. 36 (“once they are out of the country, I’m not sure what I can do there.”). Indeed,

the district court specifically indicated that its written order would set forth all of the


the                planes               is              before              you.”),
https://media.cadc.uscourts.gov/recordings/docs/2025/03/25-5067.mp3; id. at
1:17:29-37 (“The order about bringing people back, or potentially bringing people
back, is not before you.”). That should resolve whether the oral pronouncements are
binding and enforceable by contempt: They are not.

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necessary details: telling the government that it “w[ould] issue a minute order

memorializing [a TRO] so you don’t have to race to write it down.” Tr.42. (emphasis

added). And then the written order included no “turn the planes around” language.

      Plaintiffs also argue that if the order was so ambiguous, the government

should have sought clarification—and, by implication, acted criminally by failing to

do so. Resp.27-28. But, in the course of fast-moving events and the execution of a

major counterterrorism operation that involved coordination with foreign

sovereigns, the government in good faith interpreted the limited written order to

mean territorial removal. Again, this is the whole point of requiring a written order,

so the government “need not guess their obligations at peril of contempt sanctions.”

Hisps. United of DuPage Cnty. v. Vill. of Addison, 248 F.3d 617, 620 (7th Cir. 2001)

(rejecting reliance on oral statements). At a minimum, the written order needed to

be clearer to justify criminal contempt. See Ideal Toy Corp. v. Plawner Toy Mfg.

Corp., 685 F.2d 78, 83 (3d Cir. 1982) (“The order unreasonably requires the parties

to guess at the kinds of conduct that will be deemed infringement”).

      Ultimately, the government faces irreparable constitutional harm if the

contempt order is allowed to take effect. For the same reasons, the equities and

public interest favor the government. And Plaintiffs face no injury from staying a

criminal contempt order meant to vindicate the court’s authority. See United States

v. Perry, 116 F.3d 952, 956 (1st Cir. 1997) (criminal contempt is about the court, not



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the plaintiffs). And any judicial interest in vindicating its authority is at its nadir

here, after the Supreme Court’s determination that the district court did not properly

have jurisdiction in the first place. See J.G.G., 2025 WL 1024097 (“jurisdiction lies

in only one district: the district of confinement.”). This Court should stay the district

court’s improper contempt order or grant mandamus.

                                   CONCLUSION

      This Court should deny Plaintiffs’ motion to dismiss, stay the contempt order

pending appeal, or alternatively grant mandamus relief terminating the criminal

contempt proceedings.




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Dated: April 25, 2025               Respectfully submitted,
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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing motion complies with the word limit of

Federal Rule of Appellate Procedure 27(d)(2)(A) because the motion contains 4229

words. The motion complies with the typeface and type-style requirements of

Federal Rules of Appellate Procedure 27(d)(1)(E) and 32(a)(5) and (6) because it has

been prepared using Microsoft Word 365 in proportionally spaced 14-point Times

New Roman typeface.


                                               /s/ Drew C. Ensign
                                              DREW C. ENSIGN
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                        CERTIFICATE OF SERVICE

      I hereby certify that on April 25, 2025, I electronically filed the foregoing

motion with the Clerk of the Court for the United States Court of Appeals for the

D.C. Circuit by using the appellate CM/ECF system. Participants in the case are

registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.




                                              /s/ Drew C. Ensign
                                             DREW C. ENSIGN
